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12                    IN THE UNITED STATES DISTRICT COURT
13                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
14
15   MOUNTAIN COMMUNITIES FOR                 )   Case No.: 2:19-cv-6539
     FIRE SAFETY; LOS PADRES                  )
16   FORESTWATCH; and EARTH                   )
17   ISLAND INSTITUTE,                        )   COMPLAINT FOR
                                              )   DECLARATORY AND
18         Plaintiffs,                        )   INJUNCTIVE RELIEF
                                              )
19                v.                          )
                                              )   Administrative Procedure Act, 5 U.S.C.
20   KEVIN ELLIOTT, in his official           )   §§ 701 et seq.)
     capacity as the Forest Supervisor of the )
21   Los Padres National Forest and the       )
22   UNITED STATES FOREST                     )
     SERVICE,                                 )
23                                            )
           Defendants.                        )
24                                            )
25
26
27
28


     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF                                  1
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 1                                    INTRODUCTION
 2         1.     This is a civil action for declaratory and injunctive relief challenging
 3   Federal Defendants’ (the Forest Service’s) actions related to the 1,200-acre Cuddy
 4   Valley Forest Health/Fuel Reduction Project (Cuddy Valley Project), which
 5   includes mechanical thinning by commercial logging of up to 601 acres of Jeffrey
 6   pine and pinyon-juniper forest in the Los Padres National Forest.
 7         2.     Plaintiffs seek a declaration that the Forest Service has violated the
 8   National Environmental Policy Act (NEPA) and the National Forest Management
 9   Act (NFMA) by proceeding with the Cuddy Valley Project without the necessary
10   environmental analysis, an order setting aside the Cuddy Valley Project decision,
11   and, if necessary, an injunction to avert harms from logging and other project
12   activities on sensitive resources and values in the Cuddy Valley Project area.
13         3.     The Forest Service has violated NEPA by authorizing a commercial
14   timber sale project using a categorical exclusion (CE) on up to 601 acres, greatly
15   exceeding the 70- and 250-acre limits for CEs of this type, and instead must
16   prepare at least an Environmental Assessment (EA).
17         4.     Moreover, the Forest Service has failed to consider or analyze
18   significant factors regarding the degree to which the effects from logging or
19   thinning on the quality of the human environment are likely to be highly
20   controversial and the degree to which the proposed action is likely to affect public
21   health or safety. Thinning is highly controversial because there is a significant
22   scientific dispute as to the efficacy of thinning to reduce wildfire risk, and instead
23   there is substantial evidence that thinning will actually make matters worse by
24   increasing fire risk, which, in turn, implicates the potential that these effects will
25   have significant effects on public health and safety.
26         5.     Plaintiffs have also submitted evidence that the Forest Service has
27   greatly overstated the density of trees and the need to reduce this tree density. The
28   Forest Service has erroneously included very small trees (between 1-4 inches in

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 1   diameter) in their calculations of current stand densities, whereas the study of
 2   historical stand densities to which they compare current densities excluded these
 3   small trees from the data. Applying the methodology from the study of historical
 4   data shows that the Cuddy Valley Project area already meets tree density
 5   objectives, which likely obviates the need to reduce the density of larger trees and
 6   the need for the project. The Forest Service, however, has failed to respond to
 7   Plaintiffs proffered information, in violation of NEPA’s requirement to ensure
 8   scientific accuracy and integrity in its analyses.
 9         6.     The Forest Service has also relied on an old Community Wildfire
10   Protection Plan to suggest the public supports its project, whereas the old
11   community plan proposes a substantially smaller and less intensive project to
12   achieve wildfire risk reduction goals. Instead, the over 600 comments from the
13   public have universally opposed any thinning or logging in the area.
14         7.     Finally, the project is located in the Mt. Pinos Place Management
15   Area, in which the Los Padres Forest Plan requires the Forest Service to maintain
16   the area as a naturally evolving and naturally appearing landscape with big (old
17   growth) trees, a natural appearing backdrop to rural communities, and a rustic
18   mountain-built environment, with high scenic integrity. But the Forest Service has
19   violated the Forest Plan by failing to explain how logging a substantial percentage
20   of the trees, without diameter limits, would maintain these Forest Plan standards, in
21   violation of the NFMA.
22                               JURISDICTION AND VENUE
23         8.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §
24   1331 (federal question), 5 U.S.C. §§ 701 et seq. (Administrative Procedure Act)
25   and 28 U.S.C. §§ 2201 and 2202 (Declaratory Judgment Act). Plaintiffs have
26   exhausted all administrative remedies and the violations of law claimed below are
27   ripe for judicial review.
28


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 1         9.     Venue lies in the Central District of California, pursuant to 28 U.S.C.
 2   § 1391(e), because one of the Plaintiffs, Los Padres ForestWatch, is located in the
 3   District. Moreover, Defendants reside within the District; the project was
 4   approved by the Forest Supervisor, whose U.S. Forest Service office is located
 5   within the District.
 6         10.    An actual judiciable controversy exists between the parties hereto.
 7                              INTRADISTRICT VENUE
 8         11.    Similarly, because a substantial part of the events or omissions, which
 9   give rise to the claims herein occurred in Santa Barbara County, assignment to the
10   Western Division of this Court is proper under General Order No. 349.
11                                        PARTIES
12         12.    Plaintiff MOUNTAIN COMMUNITIES FOR FIRE SAFETY
13   (MCFS) are residents of Mt. Pinos communities, including Lebec, Frazier Park,
14   Lake of the Woods, Cuddy Valley, Pinon Pines and Pine Mountain Club. MCFS
15   members are engaged members of these community with a mission to preserve and
16   protect their community, which is embraced by the Los Padres National Forest.
17   MCSF’s goal is to protect and nurture the forest and their homes, simultaneously
18   seeking informed alternatives. MCSF works to ensure that homeowners in the area
19   are equipped with the information they need to protect their properties from
20   wildfire. The organization supports science-based approaches to protecting their
21   local communities from wildfire, such as reducing the ignitability of existing
22   structures, creating smart defensible space around homes, reducing new
23   development in dangerous areas, and improving early warning and evacuation
24   systems. As part of this work, MCSF regularly engages with local agencies to
25   ensure that the needs and goals of community protection are being considered,
26   responded to, and met using the best available science.
27         13.    MCFS’s members include individuals who believe the forest is their
28   community and they care deeply for its inhabitants, flora and fauna, including

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 1   endangered species working their way to sustainability. MCFS stays informed and
 2   helps others access the best information available to stay safe and protect their
 3   forest.
 4             14.   Plaintiff LOS PADRES FORESTWATCH (LPFW) is a non-profit,
 5   501(c)(3) corporation headquartered in Santa Barbara, California. The
 6   organization’s mission is to protect and restore public lands throughout the Central
 7   Coast region through policy and legal advocacy, scientific collaboration, and
 8   community outreach. ForestWatch focuses its work throughout the Los Padres
 9   National Forest and nearby public lands. To further its mission and protect the
10   interests of its members and supporters in preserving public lands, ForestWatch
11   monitors forest conditions and activities in the Los Padres National Forest and
12   reviews and comments on proposed Forest Service projects. ForestWatch also
13   organizes habitat restoration and forest stewardship projects using crews of
14   volunteers, making the forest a better place for all to enjoy and visit. In addition,
15   ForestWatch programs seek to engage underserved youth by providing them with
16   opportunities to explore nature and foster an appreciation of the outdoors.
17             15.   LPFW’s members include individuals who regularly use public lands
18   within the Los Padres National Forest, including the Cuddy Valley Project areas
19   proposed for logging, for scientific study, recreational enjoyment, aesthetic beauty,
20   and nature photography. These members’ interests will be irreparably harmed by
21   the planned logging, as they will no longer be able to take nature photographs of
22   the area in its pre-logging state, or enjoy the aesthetic beauty of the unlogged forest
23   habitat and its inhabitants.
24             16.   Plaintiff EARTH ISLAND INSTITUTE (EII) is a nonprofit
25   corporation organized under the laws of the State of California. EII is
26   headquartered in Berkeley, California. EII’s mission is to develop and support
27   projects that counteract threats to the biological and cultural diversity that sustains
28   the environment. Through education and activism, these projects promote the

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 1   conservation, preservation and restoration of the earth. One of these projects is the
 2   John Muir Project (JMP)—whose mission is to protect all federal public
 3   forestlands from commercial exploitation that undermines and compromises
 4   science-based ecological management. JMP’s offices are in San Bernardino
 5   County, California. EII is a membership organization with over 15,000 members
 6   in the U.S., over 3,000 of whom use and enjoy the National Forests of California
 7   for recreational, educational, aesthetic, spiritual, and other purposes. EII through
 8   JMP has a longstanding interest in protection of national forests. JMP and EII
 9   members actively participate in governmental decision-making processes with
10   respect to national forest lands in California and rely on information provided
11   through the NEPA processes to increase the effectiveness of their participation.
12   JMP and EII members include individuals who regularly use and continue to use
13   public lands within the Los Padres National Forest, including the exact tracts of
14   lands in the Cuddy Valley Project area proposed for logging, in particular, for
15   scientific study, recreational enjoyment, aesthetic beauty, and nature photography.
16   These members’ interests will be irreparably harmed by the planned logging, as
17   they will no longer be able to scientifically study these areas in their pre-logging
18   state, take nature photographs of the area in its pre-logging state, or enjoy the
19   aesthetic beauty of the unlogged forest habitat and its inhabitants.
20         17.    This suit is brought by MCFS, LPFW, and EII/JMP on behalf of
21   themselves and their adversely affected members and staff. Plaintiffs and their
22   members’ present and future interests in and use of the Cuddy Valley Project area
23   are and will be directly and adversely affected by the agency’s impending actions.
24   Those adverse effects include, but are not limited to: (1) public safety hazards from
25   increased wildfire risks associated with the project, (2) impacts to native plants and
26   wildlife and their habitats within and around the Project areas from logging; (3)
27   reduction and impairment of recreation opportunities; (4) impaired aesthetic value
28   of forest lands, trails, and landscapes caused by Defendants’ logging; and (5) loss

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 1   of scientific study and viewing opportunities with regard to wildlife in areas
 2   proposed for logging. In addition, Plaintiffs and their members and staff have an
 3   interest in ensuring that Defendants comply with all applicable laws, regulations,
 4   and procedures pertaining to the management of national forest lands.
 5         18.    The Forest Service’s implementation of the Cuddy Valley Project is in
 6   contravention of NEPA and NFMA. Because Defendants’ actions approving the
 7   Project violate the law, a favorable decision by this Court will redress the actual
 8   and imminent injuries to Plaintiffs. To comply with NEPA, the Forest Service
 9   would prepare Environmental Assessments (EAs) or Environmental Impact
10   Statements (EISs) to consider the significant effects from these projects, given the
11   potential for significant effects on public health or safety and the fact that the
12   effects on the quality of the human environment are highly controversial. The
13   analysis would consider alternatives, including non-commercial alternatives to the
14   proposed action, which would minimize or avert the harm to Plaintiffs’ members
15   caused by the logging of trees and destruction of wildlife habitat and other
16   resources by the proposed actions. To comply with NFMA, the Forest Service
17   would need to analyze whether or not the proposed actions comply with Forest
18   Plan standards for high scenic integrity and how it is consistent with the Mt. Pinos
19   Place Area values for old growth and maintaining a naturally appearing landscape.
20         19.    Defendant KEVIN ELLIOTT is sued in his official capacity as the
21   Forest Supervisor of the Los Padres National Forest of the United States Forest
22   Service. Supervisor Elliott is directly responsible for forest management in the Los
23   Padres National Forest and for ensuring that all resource management decisions
24   comply with applicable laws and regulations. The Forest Supervisor signed the
25   decision for the Cuddy Valley Project challenged here.
26         20.    Defendant UNITED STATES FOREST SERVICE is a federal
27   government agency within the Department of Agriculture, which holds the
28


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 1   National Forests in trust for the American people and is responsible for actions in
 2   the Cuddy Valley Project area.
 3                                       FACTS
 4   The Cuddy Valley Area, Project, and Decision
 5          21.   Cuddy Valley is located about 12 miles west of Interstate 5, Exit
 6   205—the Frazier Mountain Park Road exit.
 7          22.   The Cuddy Valley Project area is located on the western and southern
 8   sides of Cuddy Valley in the Mt. Pinos Ranger District in an area designated as the
 9   Mt. Pinos Place Management Area of the Los Padres National Forest. The project
10   area is located adjacent to a remote mountain community called Pinon Pines
11   Estates and to the west of the community of Lake of the Woods, another small
12   mountain community surrounded by the national forest.
13          23.   The Los Padres Land and Resources Management Plan (or Forest
14   Plan) states that the “Desired Condition” of the Mt. Pinos Place Management Area
15   is that the area is maintained as a naturally evolving and naturally appearing
16   landscape that functions as a big tree (old growth) recreation environment. It states
17   that the valued landscape attributes to be preserved over time are the big tree (old
18   growth) Jeffrey pine forested areas, the natural appearing backdrop to rural
19   communities, and the rustic mountain-built environment. In this Management
20   Area, Forest Service managers are expected to focus on perpetuating healthy
21   conifer forests that are one of the main attractions for national forest visitors.
22   Managers are also expected to main the big tree (old growth) appearance of the
23   Jeffrey pine forests with vegetative treatments that address stand densification
24   issues. Consistent with these values, the Cuddy Valley area is designated on the
25   Forest Plan Scenic Integrity Objectives Map to meet a standard of high scenic
26   integrity.
27          24.   The Forest Plan defines “Old Growth” as “Old forests, which often
28   contain several canopy layers, variety in tree sizes, species, decadent old trees, and

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 1   standing and dead woody material.” Forest Plan standards require that thinning of
 2   these forests favor retention of large-diameter trees.
 3         25.    The 1,200 acre Cuddy Valley Project area is composed of 409 acres of
 4   sagebrush scrub, which transitions into 791 acres of pinyon-juniper woodlands
 5   mixed with montane conifer forest of Jeffrey pine, as the forest extends up the
 6   lower slopes of Mount Pinos.
 7         26.    The Cuddy Valley Project includes a type of commercial logging
 8   known as mechanical thinning on up to 601 acres of pinyon-juniper woodlands and
 9   Jeffrey pine forest, which the Forest Service intends to implement using a
10   commercial timber sale.
11         27.    In a recent management decision in the Mt. Pinos Place Management
12   Area—the 2012 Frazier Mountain Project—the Forest Service responded to the
13   public’s concerns about the use of commercial logging by choosing an alternative
14   with a ten-inch diameter limit for the removal of trees, implementing the project
15   without a timber sale. Moreover, the Frazier Mountain Project, which is similar to
16   the Cuddy Valley Project, was analyzed more rigorously under NEPA in an
17   Environmental Assessment and included both commercial and non-commercial
18   alternatives. There, the Forest Service determined it could meet its goals of
19   wildfire risk reduction without a commercial timber sale.
20         28.    Despite the Mt. Pinos Management Area’s goal to maintain the area’s
21   big tree (old growth) appearance, the Cuddy Valley Project allows tree removal
22   without a diameter limit and by means of a timber sale, overriding the public’s
23   ongoing concerns about adverse impacts from commercial logging on wildlife,
24   visual quality, or scenic resources.
25         29.    Trees would be removed throughout all diameter classes and would
26   include the removal of large commercial trees. While the project proposes to retain
27   some of the larger Jeffrey pines, the project places no diameter limits on Jeffrey
28   pine removal, so even the largest and oldest Jeffrey pines are at risk of removal,

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 1    and the project does not prohibit the removal of old growth pinyon pines or
 2    junipers.
 3          30.    The project decision does not state how it is consistent with the Mt.
 4    Pinos Place Management Area’s desired conditions to maintain the area’s big tree
 5    (old growth) appearance or how the area will be maintained as a naturally evolving
 6    and naturally appearing landscape.
 7          31.    Finally, the project decision does not state how visual impacts from
 8    the removal of trees (including large and old-growth trees) and shrubs will allow
 9    the Forest Service to meet the Forest Plan’s visual quality objectives and its
10    standard of high scenic integrity, when instead the project will substantially
11    degrade scenic integrity.
12    The Mt. Pinos Community Wildfire Protection Plan
13          32.    In its decision, the Forest Service asserts that it has been working with
14    local individuals and groups via efforts such as the Mt. Pinos Communities
15    Wildfire Protection Plan (CWPP) to establish priorities. The CWPP was created
16    by the Mt. Pinos Communities Fire Safe Council. The Council, however, was
17    disbanded and stopped meeting many years before the Forest Service sent out its
18    scoping notice for the Cuddy Valley Project.
19          33.    The CWPP does include a proposal that overlaps the Cuddy Valley
20    Project area—the Organizational Camps Project (OCP). That proposal, however,
21    included treatments of a much smaller scale than the Cuddy Valley Project and
22    with substantially less intensive thinning. The OCP’s proposed size is 700 acres
23    and would reduce basal area of plantations to about 100 sq. ft. (per acre) and
24    reduce tree densities, leaving about 200 trees per acre. Stands of natural-occurring
25    Jeffrey pine/pinyon pine/white fir would only be thinned to about 100-140 sq. ft of
26    basal area, leaving all trees larger than 30 inches. The OCP proposal included only
27    25 acres of sagebrush treatments. These proposed actions were deemed sufficient
28    to protect the communities from wildfire risks.

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 1          34.    By contrast, the Forest Service’s Cuddy Valley Project is substantially
 2    larger and more intense. At 1,200 acres, it includes up to 791 acres of thinning in
 3    Jeffrey pine/pinyon pine forest (including up to 601 acres of mechanical thinning)
 4    and the removal of 409 acres of sagebrush scrub. It would reduce stand densities
 5    down to 60-100 sq. ft. basal area, leaving only 93 trees per acre, and it does not
 6    include a diameter limit on the removal of larger trees.
 7          35.    Since the Cuddy Valley Project substantially exceeds the size and
 8    intensity of the CWPP’s OCP proposal, it is therefore inconsistent with a proposal
 9    reached in agreement with members of the local communities. Moreover, the
10    Forest Service’s assertion that it worked with members of the community to craft
11    the Cuddy Valley Project by referring to the CWPP is disingenuous, misleading, or
12    outright false. Instead, the public overwhelmingly opposes the proposed logging.
13          36.    The likely reason for the larger size and intensity of the Cuddy Valley
14    Project is to offer more and larger trees for sale so the project is more attractive to
15    commercial logging interests.
16    Minimal Public Involvement and Failure to Address the Public’s Concerns
17          37.    On March 13, 2018, the Forest Service sent out a short scoping letter
18    and project summary seeking comments on the proposed Cuddy Valley Project.
19    This was the only comment period for this controversial project.
20          38.    On April 19, 2018, Plaintiffs LPFW and JMP submitted highly critical
21    and very specific comments with regard concerns about using a categorical
22    exclusion (CE) instead of a more rigorous Environmental Assessment (EA) for a
23    commercial timber sale project. They documented that recent projects of similar
24    size, such as the Frazier Mountain Project, had been analyzed using an EA,
25    asserting that Forest Service regulations allow the use of a CE for these types of
26    small timber sales only for those projects which are 70 or 250 acres and smaller.
27    LPFW and JMP also pointed out several significant issues and concerns, including
28    the highly controversial nature of the efficacy of this type of project to reduce

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 1    wildfire risks and the potential for adverse effects on public health and safety by
 2    increasing fire risk.
 3          39.    In addition, the Forest Service received over 600 comments from the
 4    public during the public scoping period, with the vast majority requesting
 5    additional opportunities for public input and that the Forest Service not conduct
 6    any commercial logging.
 7          40.    Despite the many concerns expressed by the Plaintiffs and others, on
 8    November 13, 2018, Forest Supervisor Kevin Elliott issued a decision
 9    memorandum (DM), excluding the Cuddy Valley Project from a detailed NEPA
10    analysis in an EA or EIS, and allowed the project to move forward as a commercial
11    timber sale without any further public comment opportunities.
12          41.    The Forest Service in its DM, or otherwise, has not responded in
13    writing to most of the specific concerns raised by the Plaintiffs or the public.
14    The Highly Controversial Nature of Thinning and Public Health and Safety
15          42.    In their comments, LPFW and JMP explained the significant scientific
16    controversies regarding the efficacy of thinning to reduce wildfire risks, which
17    implicate the potential significant effects from the project on public health and
18    safety.
19          43.    As their comments explained, there is substantial scientific evidence
20    that thinning can make the fuel hazard worse instead of better. Plaintiffs’
21    comments provided references to numerous scientific publications and government
22    reports, which describe the problems and concerns with thinning and the potential
23    for increased wildfire risk to communities.
24          44.    Regarding the controversial scientific dispute, Plaintiffs pointed to a
25    General Accounting Office report prepared of Congress, which stated, “We do not
26    presume that there is a broad scientific consensus surrounding appropriate methods
27    or techniques for dealing with fuel build‐up or agreement on the size of areas
28


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 1    where, and the time frames when, such methods or techniques should be applied.”
 2    US GAO RCED‐99‐65.1999:56.
 3           45.   As Plaintiffs’ comments explained, thinning can alter the heating of
 4    the understory and subsequently reduce moisture levels. Thinning opens stands to
 5    greater solar radiation and wind movement, resulting in warmer temperatures and
 6    drier fuels throughout the fire season. This openness can encourage a wildland fire
 7    to spread faster. Opening up closed forests through selective logging can
 8    accelerate the spread of fire through them, and this is especially true when larger,
 9    mature trees are removed.1
10           46.   One scientific study found that thinned areas predominantly burned at
11    high severity, while unthinned areas burned predominantly at low and moderate
12    severity. That is, combined mortality was higher in thinned than in unthinned
13    units. The study suggests that mechanical thinning may have effectively lowered
14    the fire weather threshold necessary for high severity fire occurrence.
15           47.   Rather than address the significant and highly controversial concerns
16    about the efficacy of thinning to reduce wildfire risk or the risk to public health and
17    safety raised by these comments, neither the Cuddy Valley Project decision nor the
18    Fire/Fuels Report addressed or discussed the concerns raised by Plaintiffs’
19    comments. This is not surprising, given that the Fire/Fuels Report posted on the
20    Forest Service website, dated 12/13/2017 and updated on 02/06/2018, was
21    prepared before the Forest Service even accepted public scoping comments. Nor
22    did the Forest Service respond to scientific information submitted by Plaintiffs,
23    demonstrating that the most effective way to protect homes from wildland fire is to
24
25       1
           This is precisely what occurred in the deadly 2018 Camp Fire, which rapidly
26
      burned through the community of Paradise and caused the loss of 85 lives in
      Northern California. This wind-driven fire raced through areas that had been
27    previously thinned or logged before it encountered the community (see
      https://www.buzzfeednews.com/article/peteraldhous/logging-forest-california-
28    wildfires, Nov. 20, 2018, last visited July 19, 2019)

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 1    inform and assist homeowners in making their homes more fire-safe and
 2    conducting defensible space pruning of vegetation (which does not involve
 3    removal of mature trees) within 100 feet of homes.
 4          48.    Ironically, while the Cuddy Valley Project is advanced by the Forest
 5    Service as a means to help protect adjacent communities and structures, it fails to
 6    discuss the potential for these significant effects on public health and safety
 7    implicated by the highly controversial nature of thinning for wildfire risk
 8    reduction, which may instead increase wildfire risk and significantly affect public
 9    health and safety.
10    Overstating the Need for Thinning to Reduce Density
11          49.    Even though requested during the comment period, the Forest Service
12    did not provide LPFW and JMP with a full set of the stand exam data for the
13    Cuddy Valley Project area until after the scoping comment deadline had passed.
14          50.    After finally receiving stand exam data of existing conditions in the
15    Cuddy Valley Project area, on December 13, 2018, Dr. Chad Hanson of Plaintiff
16    JMP submitted a supplemental letter in which he explained to the Forest Service
17    that it had greatly overstated current average stand densities of 480 trees per acre
18    based on the inclusion of trees between 1-4 inches in diameter, whereas the
19    historical studies relied on by the Forest Service did not include these small trees,
20    as well as the Forest Service’s inclusion of tree species that were not included in
21    the historical study, such as pinyon pine and oak.
22          51.    Based on Dr. Hanson’s calculations, current average stand densities
23    using the Forest Service’s own stand exam data—without inclusion of these 1-4
24    inch trees or tree species excluded from the historical study—is currently 83 trees
25    per acre. This average tree density is already below the project’s proposed stand
26    density reduction goal of 93 trees per acre. This finding obviates the need to thin
27    trees to historic densities, or obviates the need to thin trees greater than 1-4 inches
28    in diameter to reduce wildfire risks and achieve its tree density goals.

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 1          52.    The Forest Service has never responded to Dr. Hanson’s supplemental
 2    letter, and has otherwise failed to explain or correct its current stand density
 3    assertions or erroneous calculations.
 4    Forest Service Sensitive Mammal Species
 5          53.    The Cuddy Valley Project area contains habitat for Forest Service
 6    sensitive mammal species, including the Tehachapi white-eared pocket mouse,
 7    which is considered a “species of special concern” due to its rarity and may be
 8    threatened with extinction according to the California Department of Fish &
 9    Wildlife
10          54.    Forest Service sensitive species are defined as plant and animal
11    species identified by a Regional Forester for which population viability is a
12    concern as evidenced by significant current or predicted downward trend in
13    numbers or density.
14          55.    The analysis erroneously states that the project will not impact the
15    Tehachapi pocket mouse because this species has not been documented within the
16    project area. Instead, as Plaintiffs pointed out, the California Natural Diversity
17    Database (CNDDB) lists at least one occurrence of the pocket mouse in the project
18    area. Moreover, as Plaintiffs pointed out, the CNDDB shows several hundred
19    acres of “predicted habitat” for the pocket mouse in the project area.
20          56.    A 2012 statement by the Forest Service states that impacts to the
21    pocket mouse from logging projects were “likely” and “especially important” for
22    such species with limited distributions. And a California Department of Fish and
23    Wildlife report from 1998 concluded that the Forest Service should conduct
24    surveys of the pocket mouse and make adjustments to its land management
25    activities given the limited distribution of the species.
26          57.    But the Forest Service has never conducted formal surveys for the
27    Tehachapi white-eared pocket mouse. Moreover, its “no effect” determination
28


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 1    based on its erroneous assertion that it has not been documented in the project area
 2    cannot be supported by any other facts in the record.
 3                                   APPLICABLE LAW
 4    The National Environmental Policy Act
 5          58.    Congress enacted the National Environmental Policy Act “[t]o declare
 6    a national policy which will encourage productive and enjoyable harmony between
 7    man and his environment; to promote efforts which will prevent or eliminate
 8    damage to the environment and biosphere and stimulate the health and welfare of
 9    man; [and] to enrich the understanding of the ecological systems and natural
10    resources important to the Nation.” 42 U.S.C. § 4321.
11          59.    To accomplish these purposes, NEPA requires all agencies of the
12    federal government to prepare a “detailed statement” that discusses the
13    environmental impacts of, and reasonable alternatives to, all “major Federal
14    actions significantly affecting the quality of the human environment.” 42 U.S.C. §
15    4332(2)(C). This statement is commonly known as an environmental impact
16    statement (“EIS”). The EIS must describe the adverse environmental effects of the
17    proposed action and alternatives to the proposed action. Id.
18          60.    NEPA also requires that “all agencies of the Federal Government shall
19    … study, develop, and describe appropriate alternatives to recommended courses
20    of action in any proposal which involves unresolved conflicts concerning
21    alternative uses of available resources….” 42 U.S.C. § 4332(E); NEPA Section
22    102(2)(E); see 40 C.F.R. § 1507.2(d) (“This requirement of section 102(2)(E)
23    extends to all such proposals, not just the more limited scope of section
24    102(2)(C)(iii) where the discussion of alternatives is confined to impact
25    statements.”).
26          61.    The Council on Environmental Quality (CEQ) has promulgated
27    regulations implementing NEPA, which are binding on all federal agencies. 40
28    C.F.R. § 1507.1. The CEQ regulations establish additional requirements for

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 1    environmental impact statements (EISs) and other requirements of NEPA. 40
 2    C.F.R. § 1508.9. To further the purposes of NEPA, the Forest Service has also
 3    promulgated its own NEPA regulations, see 36 C.F.R. § 220 et seq., which are
 4    binding upon the agency.
 5          62.    To determine whether a proposed action significantly affects the
 6    environment, the agency must consider both the context and intensity of the
 7    proposed action, including whether the project will take place in “ecologically
 8    critical areas,” whether it will affect endangered or sensitive species, whether the
 9    effects of the project are highly controversial or uncertain, and whether the project
10    implicates public health or safety. 40 C.F.R. § 1508.27. In making its
11    determinations, NEPA requires that the agency use the best available data and
12    ensure the scientific integrity, disclose opposing scientific viewpoints, and follow
13    specified procedures to address gaps in data and scientific uncertainty. 40 C.F.R.
14    §§ 1500.1, 1502.9, 1502.22, 1502.24.
15          63.    To determine whether a proposed action significantly affects the
16    environment, and whether an EIS is required, the acting agency may first prepare
17    an Environmental Assessment (EA). 40 C.F.R. § 1508.9. An EA must provide
18    sufficient evidence and analysis to determine whether to prepare an EIS. Id. If the
19    agency concludes that a project may have significant impacts on the environment,
20    it must prepare an EIS. 40 C.F.R. § 1501.4. If the EA concludes that there are no
21    significant impacts to the environment, the federal agency must provide a detailed
22    statement of reasons why the project’s impacts are insignificant and issue a
23    “finding of no significant impact” (FONSI). 40 C.F.R § 1508.13.
24          64.    Certain proposed actions are considered “categorically excluded”
25    from detailed NEPA analysis and do not require preparation of an EIS or an EA.
26    Id. § 1508.4. The Forest Service has promulgated numerous categorical
27    exclusions, which require a project or case file and decision memo to satisfy
28    NEPA. See 36 C.F.R. § 220.6(e). In promulgating its CEs, the Forest Service has

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 1    acknowledged that “only routine actions that have no extraordinary circumstances
 2    should be within categories for exclusion.” 57 Fed. Reg. 43,180 (Sept. 18, 1992).2
 3           65.   The four relevant categorical exclusions in this case are:
 4           (6)   Timber stand and/or wildlife habitat improvement activities that
 5                 do not include the use of herbicides or do not require more than
 6                 1 mile of low standard road construction. Examples include, but
 7                 are not limited to:
 8                 (i)     Girdling trees to create snags;
 9                 (ii)    Thinning or brush control to improve growth or to reduce
10                         fire hazard including the opening of an existing road to a
11                         dense timber stand;
12                 (iii)   Prescribed burning to control understory hardwoods in
13                         stands of southern pine; and
14                 (iv)    Prescribed burning to reduce natural fuel build-up and
15                         improve plant vigor.
16    36 CFR 220.6(e)(6);
17           (12) Harvest of live trees not to exceed 70 acres, requiring no more
18                 than 1⁄2 mile of temporary road construction. Do not use this
19                 category for even-aged regeneration harvest or vegetation type
20                 conversion. The proposed action may include incidental
21                 removal of trees for landings, skid trails, and road clearing.
22                 Examples include, but are not limited to:
23
         2
24         See at 73 Fed. Reg. 43,084, 43,091 (July 24, 2008) (final rule placing CE rules
      from the Forest Service Handbook (FSH) to the CFR, explaining that “[t]his final
25    rule is moving established categories and language on extraordinary circumstances
26
      from the Forest Service NEPA procedures previously located in FSH 1909.15 to 36
      CFR 220.6. These categories and requirements were established following public
27    review and comment, in consultation with CEQ and with CEQ's concurrence. The
      final rule does not add any new categories, nor does it substantively alter existing
28    requirements regarding extraordinary circumstances.”).

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 1                (i)    Removal of individual trees for sawlogs, specialty
 2                       products, or fuelwood, and
 3                (ii)   Commercial thinning of overstocked stands to achieve
 4                       the desired stocking level to increase health and vigor.
 5    36 CFR 220.6(e)(12);
 6          (13) Salvage of dead and/or dying trees not to exceed 250 acres,
 7                requiring no more than 1⁄2 mile of temporary road construction.
 8                The proposed action may include incidental removal of live or
 9                dead trees for landings, skid trails, and road clearing. Examples
10                include, but are not limited to:
11                (i)    Harvest of a portion of a stand damaged by a wind or ice
12                       event and construction of a short temporary road to
13                       access the damaged trees, and
14                (ii)   Harvest of fire-damaged trees.
15    36 C.F.R. §§ 220.6(e)(13); and
16          (14) Commercial and non-commercial sanitation harvest of trees to
17                control insects or disease not to exceed 250 acres, requiring no
18                more than 1⁄2 mile of temporary road construction, including
19                removal of infested/infected trees and adjacent live uninfested/
20                uninfected trees as determined necessary to control the spread
21                of insects or disease. The proposed action may include
22                incidental removal of live or dead trees for landings, skid trails,
23                and road clearing. Examples include, but are not limited to:
24                (i)    Felling and harvest of trees infested with southern pine
25                       beetles and immediately adjacent uninfested trees to
26                       control expanding spot infestations, and
27                (ii)   Removal and/or destruction of infested trees affected by
28                       a new exotic insect or disease, such as emerald ash borer,

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 1                       Asian long horned beetle, and sudden oak death
 2                       pathogen.
 3    36 C.F.R. §§ 220.6(e)(14).
 4          66.    “Scoping is required for all Forest Service proposed actions, including
 5    those that would appear to be categorically excluded from further analysis and
 6    documentation in an EA or an EIS.” 36 C.F.R. § 220.4(e)(1).
 7          67.    If, based on scoping, the responsible official determines that “it is
 8    uncertain whether [a] proposed action may have a significant effect on the
 9    environment,” an EA should be prepared. 36 C.F.R. § 220.6(c). If, based on
10    scoping, the responsible official determines “that the proposed action may have a
11    significant environmental effect,” an EIS should be prepared. Id.
12          68.    Federal agencies are also required to “provide for extraordinary
13    circumstances,” which are circumstances “in which a normally excluded action
14    may have a significant environmental impact.” 40 C.F.R. § 1508.4. To comply
15    with NEPA when evaluating a particular project for categorical exclusion, an
16    agency must first determine whether the proposed action falls within a categorical
17    exclusion and then determine whether “extraordinary circumstances” exist that
18    would prevent application of the exclusion. Id.
19          69.    In providing for “extraordinary circumstances” sufficient to preclude
20    use of its categorical exclusions, the Forest Service has determined that:
21          Resource considerations that should be considered in determining
22          whether extraordinary circumstances related to a proposed action
23          warrant further analysis and documentation in an EA or an EIS
24          [including]: (i) Federally listed threatened or endangered species or
25          designated critical habitat, species proposed for Federal listing or
26          proposed critical habitat, or Forest Service sensitive species;….
27    36 C.F.R. § 220.6(b)(1) (emphasis added).
28


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 1          70.      Moreover, in considering extraordinary circumstances, the Forest
 2    Service must look beyond the list of resource conditions:
 3          The extraordinary circumstances requirements include a list of
 4          resource conditions that “should” be considered. “Should” is used
 5          instead of “shall” because “should” underscores that the list is not
 6          intended to be exhaustive. The list of resource conditions is intended
 7          as a starting place and does not preclude consideration of other factors
 8          or conditions by the responsible official with the potential for
 9          significant environmental effects.
10    73 Fed. Reg. 43084, 43091 (July 24, 2008) (rule for 36 C.F.R. § 220 et seq.)
11          71.      NEPA regulations include several significance factors applicable to
12    this case: “The following should be considered in evaluating intensity: … The
13    degree to which the proposed action affects public health or safety. … [and] The
14    degree to which the effects on the quality of the human environment are likely to
15    be highly controversial.” 40 C.F.R. § 1509.27(b)
16          72.      “When an agency decides to proceed with an action in the absence of
17    an EA or EIS, the agency must adequately explain its decision.” Alaska Ctr. for
18    Env’t v. U.S. Forest Serv., 189 F.3d 851, 859 (9th Cir. 1999). If the agency asserts
19    that an activity will have an insignificant effect on the environment, the agency “
20    ‘must supply a convincing statement of reasons why potential effects are
21    insignificant.’ ” Id. (quoting The Steamboaters v. FERC, 759 F.2d 1382, 1393 (9th
22    Cir. 1985)).
23          73.      A federal agency must consider and evaluate “significant new
24    circumstances or information relevant to environmental concerns and bearing on
25
      the proposed action or its impacts.” 40 C.F.R. § 1502.9(c)(1)(ii).
26
      //
27
      //
28


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 1    The National Forest Management Act (NFMA)
 2          74.      NFMA requires that all “[r]esource plans and permits, contracts, and
 3    other instruments for the use and occupancy of National Forest System lands shall
 4    be consistent with the land management plans.” 16 U.S.C. § 1604(i). “[A]ll
 5    management activities undertaken by the Forest Service must comply with the
 6    forest plan, which in turn must comply with [NFMA]….” Idaho Sporting
 7    Congress v. Rittenhouse, 305 F.3d 957, 962 (9th Cir. 2002).
 8          75.      Moreover, the Forest Service’s NFMA regulations require that:
 9          Every project and activity must be consistent with the applicable plan
10          components. A project or activity approval document must describe
11          how the project or activity is consistent with applicable plan
12          components developed or revised in conformance with this part by
13          meeting the following criteria:
14                (1) Goals, desired conditions, and objectives. The project or
15                    activity contributes to the maintenance or attainment of one or
16                    more goals, desired conditions, or objectives, or does not
17                    foreclose the opportunity to maintain or achieve any goals,
18                    desired conditions, or objectives, over the long term.
19                (2) Standards. The project or activity complies with applicable
20                    standards.
21                (3) Guidelines. The project or activity:
22                    (i) Complies with applicable guidelines as set out in the plan;
23                        or
24                    (ii) Is designed in a way that is as effective in achieving the
25                        purpose of the applicable guidelines (§ 219.7(e)(1)(iv)).
26    36 C.F.R. § 219.15(d)(1) – (3).
27    //
28    //

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 1                                 CLAIMS FOR RELIEF
 2                 National Environmental Policy Act (NEPA) Violations
 3          76.    The paragraphs above are incorporated herein by reference.
 4    Exceeding CE Limits for Commercial Timber Sales
 5          77.    Under NEPA, federal agencies must prepare a detailed written
 6    statement known as an environmental impact statement (EIS) for “major Federal
 7    actions significantly affecting the quality of the human environment.” 42 U.S.C. §
 8    4332(C); 40 C.F.R. § 1508.11.
 9          78.    Unless the action is categorically excluded, an agency must prepare an
10    environmental assessment (EA) to determine whether preparation of an EIS is
11    necessary. 40 C.F.R. § 1501.4(a)-(c).
12          79.    The Cuddy Valley Project is a timber sale project that involves
13    thinning, which would harvest trees from up to 601 acres. As such, the Project
14    greatly exceeds the 70 acre limitation of the small thinning categorical exclusion
15    (CE) in 36 C.F.R. § 220.6(e)(12), and also exceeds the 250 acre limitations of the
16    timber salvage and sanitation CEs in 36 C.F.R. §§ 220.6(e)(13) and (14).
17    Therefore, the Forest Service was required to prepare an EA or EIS. In similar
18    wildfire protection projects, such as in the Frazier Mountain Project, the Los
19    Padres National Forest has prepared an EA. Here, however, the Forest Service
20    decided to limit its NEPA analysis by inappropriately choosing the “timber stand
21    and/or wildlife habitat improvement activities” CE (36 C.F.R. § 220.6(e)(6)),
22    which does not fit the type of commercial logging activities proposed in the Cuddy
23    Valley Project. The Forest Service’s failure to prepare an EA for a commercial
24    timber sale to implement this project violates its own regulations and NEPA.
25    Failure to Consider Potential Significant Effects and Extraordinary Circumstances
26          80.    To comply with NEPA, the Forest Service must adequately consider
27    “[t]he degree to which the effects on the quality of the human environment are
28


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 1    likely to be highly controversial” and “[t]he degree to which the proposed action
 2    affects public health or safety.” 40 C.F.R. § 1509.27(b).
 3          81.    Plaintiffs have presented substantial scientific evidence that thinning
 4    can increase wildfire risk and make matters worse instead of better by referencing
 5    numerous scientific publications and government reports, which describe concerns
 6    with thinning and the potential for increased wildfire risk.
 7          82.    Rather than address the significant and highly controversial concerns
 8    about the efficacy of thinning to reduce wildfire risk raised by Plaintiffs’
 9    comments, neither the Cuddy Valley Project decision nor the Fire/Fuels Report
10    (dated before scoping began) addressed the concerns raised by Plaintiffs.
11          83.    While the Cuddy Valley Project has been promoted by the Forest
12    Service as a means to help protect adjacent communities from wildfire risk, it fails
13    to discuss the controversy or the likely potential that these significant effects may
14    have on public health and safety, as implicated by the highly controversial nature
15    of thinning for wildfire risk reduction, and the findings that thinning may instead
16    increase wildfire risk and therefore adversely affect public health and safety.
17          84.    At the very least, if the Forest Service decides to proceed with an
18    action in the absence of an EA or EIS, it must adequately explain its decision and
19    must supply a convincing statement of reasons why potential effects are
20    insignificant. Alaska Ctr. for Env’t v. U.S. Forest Serv., 189 F.3d 851, 859 (9th
21    Cir. 1999). Here, the Forest Service has failed to do so.
22          85.    Moreover, extraordinary circumstances preclude the use of categorical
23    exclusions if a project is likely to adversely affect a Forest Service sensitive
24    species. 36 C.F.R. § 220.6(b)(1).
25          86.    With respect to the Tehachapi pocket mouse, a sensitive species, the
26    Forest Service has failed to adequately consider or explain the effects on this
27    species because it erroneously stated that it did not occur in the project area,
28    making a “no effect” determination due to erroneous assertion of its absence,

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 1    whereas Plaintiffs specifically presented information that the Tehachapi pocket
 2    mouse has been observed in the Cuddy Valley Project area and there are hundreds
 3    of acres of habitat within the project area.
 4    Failure to Ensure Scientific Accuracy and Integrity
 5          87.    A federal agency must consider and evaluate “significant new
 6    circumstances or information relevant to environmental concerns and bearing on
 7    the proposed action or its impacts.” 40 C.F.R. § 1502.9(c)(1)(ii).
 8          88.    Dr. Chad Hanson of Plaintiff JMP submitted a supplemental letter to
 9    the Forest Service presenting significant new information that would obviate the
10    need to do much of the proposed thinning or density reduction proposed in the
11    Cuddy Valley Project. In his letter, he explained that the Forest Service had
12    greatly overstated current average stand densities of 480 trees per acre based by
13    including 1-4 inch diameter trees in its calculations, whereas the studies of
14    historical data relied on by the Forest Service did not include these small trees.
15    Further, Dr. Hanson notes that the historical study excluded several tree species
16    (species of trees that are not valuable for commercial logging as lumber), but the
17    Forest Service here included those tree species to calculate stand densities.
18          89.    NEPA requires that the Forest Service ensure scientific accuracy and
19    integrity in NEPA documents, and must also clearly divulge its methodologies for
20
      key findings, and present hard data upon which those findings are based. 40
21
      C.F.R. § 1502.24.
22
            90.    The Forest Service failed to comply with these provision of NEPA by
23
24    failing to consider and respond to this significant new information, and it violates
25    NEPA because the analysis (a) greatly overstates current average stand densities of
26    480 trees per acre based on the inclusion of trees between 1-4 inches in diameter
27
      and non-timber tree species, whereas the historical studies relied on by the Forest
28


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 1    Service did not include these trees to determine stand densities; (b) makes
 2    erroneous comparisons between current and historic stand densities; (c) fails to
 3
      divulge the methodology it used to assess current stand density (i.e., the inclusion
 4
      of all trees between 1-4 inches in diameter and non-timber tree species) in
 5
 6    comparison to historic density (which did not include these trees); and (d) fails to

 7    correct the analysis or re-analyze whether density reduction is still necessary or
 8    should be reduced or limited to only very small diameter trees.
 9          91.    By its various violations of NEPA, Defendants have taken final
10    agency actions that are arbitrary, capricious, and otherwise not in accordance with
11    law, or without observance of procedure required by law, within the meaning of
12    the Administrative Procedure Act. 5 U.S.C. § 706(2). As such, the Court should
13    hold Defendants’ actions as unlawful and set them aside. Id.
14                 National Forest Management Act (NFMA) Violations
15          92.    The paragraphs above are incorporated herein by reference.
16          93.    Defendants have authorized the Cuddy Valley Project in violation of
17
      the Los Padres Land and Resources Management Plan (the Forest Plan or land
18
      management plan). NFMA requires that all “[r]esource plans and permits,
19
20
      contracts, and other instruments for the use and occupancy of National Forest

21    System lands shall be consistent with the land management plans.” 16 U.S.C. §
22    1604(i). To that effect, the Forest Service’s NFMA regulations require that every
23    project and activity must be consistent with the applicable plan components, and it
24
      must describe how the project or activity is consistent with those components,
25
      including goals, desired conditions, objectives, standards, and guidelines. 36
26
27
      C.F.R. § 219.15(d).

28


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 1          94.    The Los Padres Forest Plan desired condition for the Mt. Pinos Place
 2    Management Area, where the Cuddy Valley Project is proposed, requires it to be
 3
      maintained as a naturally evolving and naturally appearing landscape that functions
 4
      as a big tree (old growth) recreation environment, with valued landscape attributes
 5
 6    to be preserved over time, including the big tree (old growth) Jeffrey pine forested

 7    areas, the natural appearing backdrop to rural communities, and the rustic
 8    mountain-built environment. The Forest Service has failed to describe or explain
 9    how the thinning and logging of a significant percentage of the trees in the Cuddy
10
      Valley Project area, without diameter limits, will preserve these values.
11
            95.    Moreover, the Forest Service has failed to explain how visual impacts
12
13    from the removal of a significant percentage of the trees (including large and old-

14    growth trees) and shrubs in the Cuddy Valley Project area will allow the Forest
15    Service to meet the Forest Plan’s visual quality objectives and the standard of high
16    scenic integrity for the area, when instead the project will substantially degrade
17
      scenic integrity.
18
            96.    By their failure to authorize the Cuddy Valley Project consistent with
19
20    the Forest Plan (see 16 U.S.C. § 1604(i)), Defendants have taken final agency

21    actions that are arbitrary, capricious, and otherwise not in accordance with law, or
22    without observance of procedure required by law, within the meaning of the
23    Administrative Procedure Act. 5 U.S.C. § 706(2). As such, the Court should hold
24
      Defendants’ actions as unlawful and set them aside. Id.
25
                                  REQUEST FOR RELIEF
26
            97.    For these reasons, Plaintiff requests that the Court:
27
            a)     Declare that the Cuddy Valley Project violates NEPA and NFMA;
28


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 1          b)    Set aside the Cuddy Valley Project decision;
 2          c)    Compel Defendants to supplement their NEPA analysis with an EA or
 3    EIS for the Cuddy Valley Project, consider and prepare alternatives to the proposed
 4    action, and otherwise order it to comply with NEPA before issuing a new decision;
 5          d)    Compel Defendants to comply with the Forest Plan’s requirements for
 6    the Mt. Pinos Place Management Area and standard for high scenic integrity;
 7          e)    Enjoin Defendants from felling or removing trees until the Defendants
 8    have properly complied with NEPA and NFMA;
 9          f)    Award Plaintiffs their costs of litigation, including reasonable
10    attorneys’ fees under the Equal Access to Justice Act, 28 U.S.C. § 2412; and
11          g)    Provide such other relief as the Court deems just and proper.
12
      Respectfully submitted this 29th day of July, 2019.
13
14
15
                                         ____________________
16                                       René Voss
17
                                         /s/Douglas P. Carstens (as authorized 7/26/19)
18                                       Douglas P. Carstens
19                                       Michelle Black
20
                                         Attorneys for Plaintiff
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